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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF GEORGIA
                                    COLUMBUS DIVISION

 LARRY RELF, on behalf of himself and all            *
 others similarly situated,
                                                     *
                       Plaintiff,                        Case No.4:18-cv-00240-CDL
 v.                                                  *

 STATE FARM MUTUAL AUTOMOBILE                        *
 INSURANCE COMPANY, J.D. POWER &
 ASSOCIATES, and MITCHELL                            *
 INTERNATIONAL, INC.,

                   Defendants.
 ___________________________________

                                       JUDGMENT

       Pursuant to this Court’s Order dated June 20, 2019, and for the reasons stated therein,

JUDGMENT is hereby entered in favor of Defendants.            Plaintiff shall recover nothing of

Defendants. Defendants shall also recover costs of this action.

        This 20th day of June, 2019.

                                             David W. Bunt, Clerk


                                             s/ Elizabeth S. Long, Deputy Clerk
